    Case 3:21-cv-01378-N Document 14 Filed 08/17/21                            Page 1 of 5 PageID 535



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                      )
In re:                                )
                                      )                                     Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )                                     Case No. 19-34054 (SGJ)
                 Debtor.              )
                                      )
                                      )
                                      )
HIGHLAND CAPITAL MANAGEMENT, L.P.,    )
                                      )
                Plaintiff,            )
                                      )                                     Adv. Proc No: 21-03006 (SGJ)
vs.                                   )
                                      )                                     Case No: 3:21-cv-01378-N
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC.                                  )
                                      )
                Defendant,            )
                                      )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 16, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Plaintiff's Opposition to Defendant's Motion to Reconsider District Court Order
         Adopting Report and Recommendation Relating to Defendant's Motion to
         Withdraw the Reference [Docket No. 13]

Dated: August 17, 2021                                    /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 3:21-cv-01378-N Document 14 Filed 08/17/21   Page 2 of 5 PageID 536


                          EXHIBIT A
            Case 3:21-cv-01378-N Document 14 Filed 08/17/21                                  Page 3 of 5 PageID 537
                                                                 Exhibit A
                                                          Civil Action Service List
                                                         Served via Electronic Mail

           Description                  CreditorName                     CreditorNoticeName                      Email
Financial Advisor to Official                                       Earnestiena Cheng, Daniel H Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors FTI Consulting                     O'Brien                     Daniel.H.O'Brien@fticonsulting.com
                                                                    Melissa S. Hayward, Zachery MHayward@HaywardFirm.com;
Counsel for the Debtor              Hayward & Associates PLLC       Z. Annable                  ZAnnable@HaywardFirm.com
                                                                                                jpomerantz@pszjlaw.com;
                                                                  Jeffrey N. Pomerantz, Robert rfeinstein@pszjlaw.com;
                                    Pachulski Stang Ziehl & Jones J. Feinstein, John A. Morris, jmorris@pszjlaw.com;
Counsel for the Debtor              LLP                           Gregory V. Demo               gdemo@pszjlaw.com
                                                                                                mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey              dtwomey@sidley.com
                                                                                                preid@sidley.com;
                                                                  Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes            crognes@sidley.com
Counsel for HCRE Partners LLC
n/k/a NexPoint Real Estate                                          Deborah Deitsch-Perez,        deborah.deitschperez@stinson.com;
Partners LLC                        Stinson LLP                     Michael P. Aigen              michael.aigen@stinson.com
Counsel for HCRE Partners LLC                                                                     brant.martin@wickphillips.com;
n/k/a NexPoint Real Estate          Wick Phillips Gould & Martin,   Brant C. Martin, Jason M.     jason.rudd@wickphillips.com;
Partners LLC                        LLP                             Rudd, Lauren K. Drawhorn      lauren.drawhorn@wickphillips.com




Highland Capital Management, L.P.
Case No. 19-34054                                               Page 1 of 1
Case 3:21-cv-01378-N Document 14 Filed 08/17/21   Page 4 of 5 PageID 538


                          EXHIBIT B
                             Case 3:21-cv-01378-N Document 14 Filed 08/17/21                  Page 5 of 5 PageID 539
                                                                       Exhibit B
                                                                Civil Action Service List
                                                               Served via First Class Mail
                      Description                  CreditorName           CreditorNoticeName               Address1       City State Zip
         Counsel for HCRE Partners LLC n/k/a                           Deborah Deitsch-Perez,      3102 Oak Lawn Avenue,
         NexPoint Real Estate Partners LLC     Stinson LLP             Michael P. Aigen            Suite 777             Dallas TX  75219
         Counsel for HCRE Partners LLC n/k/a   Wick Phillips Gould &   Brant C. Martin, Jason M.   3131 McKinney Avenue,
         NexPoint Real Estate Partners LLC     Martin, LLP             Rudd, Lauren K. Drawhorn    Suite 100             Dallas TX  75204




Highland Capital Management, L.P.
Case No. 19-34054                                                      Page 1 of 1
